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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                           Norfolk Division
  ________________________________________________
  MARTIN J. WALSH,                                          )
  SECRETARY OF LABOR,                                       )
  UNITED STATES DEPARTMENT OF LABOR,                        )
                                                            )
                                Plaintiff,                  ) Case No. 2:18-cv-226
                                                            )
                 v.                                         ) Case No. 2:19-cv-475
                                                            )
  MEDICAL STAFFING OF AMERICA, LLC, a limited               )
  liability company, d/b/a STEADFAST MEDICAL                )
  STAFFING, and LISA ANN PITTS, individually and as )
  owner and officer of the aforementioned company,          )
                                Defendants.                 )
                                                            )

                                      NOTICE OF APPEAL

         Notice is hereby given that Defendants Medical Staffing of America, LLC d/b/a Steadfast

  Medical Staffing, and Lisa Ann Pitts (collectively “Defendants”) appeal to the United States Court

  of Appeals for the Fourth Circuit from the Order and Judgment entered on January 14, 2022 (Dkt.

  Nos. 324, 325) in favor of the U.S. Department of Labor, and all earlier adverse interlocutory

  orders and rulings subsumed into that judgment. Defendants acknowledge that the District Court

  has not yet entered a final judgment with a dollar amount. Defendants file this Notice of Appeal

  now in an abundance of caution, recognizing that premature notices of appeal are proper. See Fed.

  R. App. P. 4(a)(2). Defendants expect to amend this Notice of Appeal and seek to pursue a single

  combined appeal once proceedings are complete in the District Court.
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                                     CERTIFICATE OF SERVICE

           I certify that on March 14, 2022 I filed the foregoing document which provided notice to

  the following counsel of record:

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                                                  /s/ Julia A. Rust
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